Case:lS-lOllB-SDB 'Doc#:5 Filed:Ol/26/18 Entered:Ol/26/18 09:17:57 Page:l of 8

lN THE UNITED STATES BANKRUPTCY CDL|RT
FDR THE SOUTHERN DlSTRlCT DF GEDRGIA

Fil| in this information to identify your easo:

 

 

 

 

namer 1 __Dennis Eugene Staff`ey
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(lranown)

 

 

CHAPTER 13 Pt_.AN AND MoTloN
[Pursuant to Fed, R. Eiankr, P, 30l5,l, the Southerrt Dist.riet ol'Georgia General Drder 2017-3 adopts this form in lieu ofthc Ol’i'tcial Fon'n l l.?»],
l. Notices. I)ebtor(s) must check one box on each line to state whether or not the plan includes each of the following items.

Il' an item is checked as not being contained in the plan or if neither or both boxes are checked, the provision will be
ineffective if set out in the plan.

{a) This plan: |E| contains nonstandard provisions. See paragraph 15 below.
|:| does not contain nonstandard provisions

th) This plan: § values the claim(s) that secures collateral. See paragraph 4(f) below.
l:| does not value elaim(s) that secures collateral.

{Cl This plan: lEl seeks to avoid a lien cr security interest. See paragraph 8 below.
El does not seek to avoid a lien or security interest.

2. Plan Payments.
(a) The Debtor(s) shall pay to the Chaptet l3 Tn.lstee (the “Trustee“) the sum of 5912.0(] per month for the applicable
commitment period cfc
60 months. m- (Il`applicable include the following: 'l`hese plan
l payments will change to $ monthly on
l:l aminimurn of36 months. See l l U.S.C. § 1325(b)(4). , 20 -)

(h) The payments under paragraph 2(a) shall he paid:

F'ursuant to a Notice to Commence Wag,e Withholding, the Debtor{s) request(s) that the Trustee serve such Notice(s]
upon the Debtor’s(s’) employer(s) as soon as practicable after the filing of this plan. Such Notiee(s) shall direct the
Debtor’s(s') employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following
percentages of the monthly plan payment:

Debtor l 19_|1% |;| Devtorz %

l:l Direct to the 'I`rustee for the following reason(s): 1
l:| The Debtor(s) receive(s) income solely from self-employment, Social Eecurity, government assistanee, or
retirement.
l:| The Debtor(s) assert(s) that wage withholding is not feasible for the following reascn(s):

(c) Additional Payments ot`$ (estirnated amount) will he made on (anticipated date)

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from _ (source, including income tax refunds).

3. Long~'l`erm Debt Paymeuts.

(a) Maitttenance of Cul‘rent Installment Payments. The Debtor(s) will make monthly payments in the manner specified as
follows on the following long-term debts pursuant to l 1 U.S.C. § 1322(b)(5}. These postpetition payments will be disbursed
by either the Trustee or directly by the Debtor(s), as specified below. Fostpetition payments are to be applied to postpetition
amounts owed for principal, interest, authorized postpetition late charges and escrow, if applicable Conduit payments that
are to be made by the Trustee which become due after the filing of the petition but before the month of the first payment
designated here will be added to the prepetition arrearage claim.

FAYMENTS TO BE MONTH DF F|RST

PRINC|PAL MADE EW POSTPET|TION INlTlAL

RESIDENCE (TRUSTEE OR'. P'AYMEN'!` 'l`O MONTHLY
gBE,QIIQB MML nrle DEBTQR|S![ CREDIT R PA‘¢’MEM [
Bt‘uee Hitt Rcal estate (lll mortgage) Y Debtor February 2018 Contract rate
Brucc Hitt Real estate (2"°' mortgage) Y Debtor February 2013 Contract rate

(b) Ctlt‘e of Art‘eat°age on Long-Term Debt. Pursuant to l l L|.S.C. § l322(b)(5), prepetition arrearage claims will be paid in
Full through disbursements by the Trustee, with interest (ifany) at the rate stated below. P'repetition arrearage payments are
to be applied to prepetition amounts owed as evidenced by the allowed claim.

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CREDIT R §QLLAIEE&L B.EELDEU.CE.LI£N) QF_AB.BE.£\BAQE ABBEABAQE_ULHDRUEBMH
Eruce Hitt Real estate [l" mortgage} Y 3,172.00 0.00
Bruce Hitt Real estate (Ind mortgage] Y 310.0|) 0_00
4. Tt’eatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated

otherwise:

(a`l Trustee’s Fees. The 'I`rustee percentage fee as set by the l.lnited States Trustee.
(b) Attorney’s Fees. Attorney's fees allowed pursuant to l l U.S.C. § 507(a)(2)of$3,5_0_0_._§_|1.

(c) Priorlty Clalms. Othet l l U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of
the plan as funds become available in the order specified by law.

(d) Fully Sccu red Allowed C.`laims. A|l allowed claims that are h.llly secured shall be paid through the plan as set forth below.
§;B.EELI.QB. oascalPrloN ol= cor_l_p.'raam_ s.§'l‘|gg[gp gi g|M MEBE§-[- 135-rp mgm-gi x MMFE ‘|-

(el Secured Claltns Excluded from ll U.S.C. § 506 (those claims subject to the hanging paragraph of ll U.S.C. §
1325(a)). The claims listed below were either; (l) incurred within 9l0 days before the petition date and secured by a

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purchase money security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within l
year of the petition date and secured by a purchase money security interest in any other thing of value. These claims will
be paid in full under the plan with interest at the rate stated below:

§BEEIJ'.QE DE&CBEQH_QEEQLLAIEBAL .E_&Ilh‘l_o__TED CLAIM _BB__WT'EREST TE M.QNJJ;|LY_EA.Y.M.ENI
Mariner Finance Vehiclc l l,l 91.00 4.25% lSlD.l]il

Titlema)t Vehicle (Escape) l.725.00 4.25% 30.00

Titlemax Vehic|e (Ranger) 1,852.00 4.25% 30.00

tf) Valuation of Secu red Claims to Which ll U.S.C. § 506 is App|lcable. The Debtor(s) move(s) to value the claims partially
secured by collateral pursuant to 1 l U.S.C. § 506 and provide payment in satisfaction of those claims as set forth below. The
unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph d(h) below. The plan shall be
served on all affected creditors in compliance with Fed. R. Banlcr. P. BDlZ(b), and the Debtor(s) shall attach a certificate of

service.
VALUATION DF
C_B.ED|IQB QES§BH]QN_QF_TILLAIEBAL S.EUEED_CLAIM l.NIEBESlEAIE MQEU:|J..X_EAIMEH
Security Finance Personal propertyfvehicle 1.00 3% l.DlJ

(gl Special Treatment of Unsecured Clalms. The following unsecured allowed claims are classified to be paid at 100%
l:l with interest at % per annum or l:l without interest:

t|il General Unsecut‘ed Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a Q,D_Q % dividend or a pro rata share of
5 , whichever is greater. '

5. Executory Contracts.

(a) Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).

DESCR|PTlON OF PROFERTYJ'SERV[CES ASSUMED/ MONTHL.‘{ DlSBURSED BY TRUSTEE
EB£DUE AMQNIBAH E.EJ.EELED EA.`\'.M.ENI QE.DEBJD.BLSJ
Directv Serviees Rejeet NA NA
RTO National shed assume 220_ l 5 Debtor

(b) Treatment of Arrearages. Prepetition arrearage claims will be paid in hill through disbursements by the Trustee.

QBED|IQB. ESIMAIEMBBEABA§.E

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6. Adequate Protection Payments. The Debtor(s) will make pre-confin'nation lease and adequate protection payments pursuant
to l l U.S.C. § 1326(a)_(1] on allowed claims of`the following creditors: 1;1 Direct to the Creditor; or 13 To the Trustee.
QBEEIJ;QB. AnEoLiATg Paorgg]§|o\~_i Qg 1 55 sE ga yg 5g1 g Mgg [gI

7. Domestic Support Obllgatlons. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of

such claim identified here. See ll U.S.C. § 101(14A). The Trustee will provide the statutory notice of ii U.S.C.§ 1302(d) to
the following claimant(s):

eminent _ssADDRE
S. Llen Avoidance. Pursuant to 1 l U.S.C. § 522(t), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) of the following

ereditcr(s), upon confirmation but subject to ll U.S.C. § 349, with respect to the property described below. The plan shall be
served on all affected creditor(s) in compliance with Fed. R. Banltr. F. 4003(d), and the Debtor(s] shall attach a certificate of

service.
§BED]J`_QBL LlEN inENTiFigATlQN rittggwg} gggggg]'_y
Security Finance l-li-IG
9. Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown

below upon continuation of the plan, The Debtor(s) request(s) that upon continuation of this plan the stay under l l U.S.C. §
362(a] be terminated as to the collateral only and that the stay under l l U.S.C. § 1301 be terminated in all respects. Any allowed
deficiency balance resulting li‘otu a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph
4(11) of this plan if the creditor amends its previously-filed, timely claim within 180 days from entry of the order continuing this
plan or by such additional time as the creditor may be granted upon motion filed within that 180-day period.

CLEQI_`IDB. association or gott i»».'ral~‘ialz AMQL!NI_QF_CLNM.MIE.ELED

l{l. Retentlon of L.iens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by
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ld.

l-'l.

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11 u.s.c § 1325(=1)(5).

Amounts of Claims and Clalm Objections. The amount, and secured or unsecured status, of claims disclosed in this plan are
based upon the best estimate and belief of the Debtor(s). An allowed proof ofclaim will supersede those estimated claims. ln
accordance with the Banltruptcy C.ode and Federal Rules of Elan]truptcy Pt‘ocedure, objections to claims may be filed before or
after confirmationl

Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan proposes,
after notice from the Trustee and a hearing if necessary, unless a plan modification is approved

Federal Ru|e of Bankt'uptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a
creditor pru'suant to Fed. R.. Banltr. P. 3002.1(c) unless the Debtor’s(s’) plan is modified after the filing ofthe notice to provide
for payment of such fees, expenses, or charges.

Service of Pian. Fursuant to Fed. R.. Banlcr. F. 3015(d) and General Order 2017~3, the Debtor(s] shall serve the C`.haptcr 13 plan
on the Trustee and all creditors when the plan is filed with the court, and tile a certificate of service accordingly. |f the Debtor(s)
seek(s) to limit the amount of a secured claim based on valuation of collateral (paragraph 4{{) above), seek(s) to avoid a security
interest or lien (paragraph 8 ahove), or seelt(s) to initiate a contested matter, the Debtor(s) must serve the plan on the affected
creditors pursuant to Fed. R. Banltr. P. 7004. See Fed. R. Barikr. P. 3012(b), 4003(d), and 9014.

Nonstandard Provislons. Llnder Fed. R. Banlti'. P. 3015(c), nonstandard provisions must he set forth below. A nonstandard
provision is a provision not otherwise in this local plan form or deviating ii‘om ii. Nonstandard provisions set out elsewhere in
this plan are void.

Debtor anticipates that all GILA lenders charged non filing insurance; insurance in lieu of perfection. chtors
assume the right to redeem with title lenders

By signing below, l certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

Dacd= \\""i‘~‘lf"°l"r c@swéb }/
EIOF'
allmd/ '

 

      

s/Angela McElroy-Magmder
Attorneyfor the Deblor(.r)
GA Bar No 11362.5

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IN THE UNITED STATES BANKRUPTCY C‘OURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
m RE: )
Dennis Etlgene Staf`f`ey ) CHAPTER 13 CASE NO: IS-IUIIS-SDB
Valerie Paige Staf`f`ey )
DEBTOR (S) )

CERTIFICATE OF SERVICE

l hereby certify that I have served a copy of the within and foregoing Chapter 13 Plart and

Motion by placing same iri the Ur_tited States mail with proper postage affixed thereon to insure delivery,
addressed as follows: '

SEE ATTACHED MATRIX

I hereby certify that the following insured depository institutions were served by Certified Mail
addressed to the officer of the institution:

N/A

In hereby certify that the following parties and counsel were served electronically through the
Notice of Electronic Filing (NEF) at the following address:

Huon Le
notices{iiicltp l Battg.org

Office of the U.S. Trustee
li_§t[n'egionZ l _s v.ecf(iiiusdo`|.gov

This 26th` day of.lanuary, 2013.

v S/ Angeia McElroy-Magt,_'ucler
Angela McElroy-Magruder

Georgia Bar # 113625
Attorney t`or Debtor

Angela McEIroy-Magruder

Clacys, McElroy-Magruder & Kitohcns
512 Telfair Street

Augusta, C`veorgia 30901

(705) 724-6000

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Case 13-10115-SDB

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DJO LLC
PO ch 560117
Dallas, is 25255-0117

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1300 CENTURY BLVD NB SUITB 9100
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PG Bos 7146
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Attn: Serviciag squat/officer
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sherman, Taxas 75091-3259

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Ste 510

stlanta. secrgia 30123-4649

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office of the U. s. Trustee
Juhaeon square Busfnsss center
2 sant sryaa street, ste 225
savannah, ss 31401-2538

security Finance

Atta: Eerviciog hgent/Officar
1631 darden Hwy, ste t
Augusts, st 30906-2221

lPlTHK FIHINCE LLC FORHERLY TITLBHBX
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Augusta, GA 20905-5950

Ti:te preferred mailing address lpl above bas been substituted fur the following entity/entities as so specified
by said entity/entities in a iictiee cf Address filed pursuant tc 11 U.s.l'.'. 342lfl and Fed.lt.sanit.s. 2002 lgl lil.

ss bcpt. cf Revenue Titlemex End cf Lebel lietriz
1100 Ceutury Hlvd int 15 sell Street llaileble recipients 32
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ittlanta, Geergis 30345 ssvaonsb, Georgia 31401 Totel 32

